          Case 2:23-bk-11720-VZ                  Doc 76-1 Filed 09/26/23 Entered 09/26/23 07:59:03                                        Desc
                                                   Proposed Order Page 1 of 3

 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 CHERYL A. SKIGIN, #73472
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     Debtor(s) appearing without attorney
     Attorney for: Ally Bank

                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 In re:                                                                      CASE NO.: 2:23-bk-11720-VZ
                                                                             CHAPTER: 13
 Jeffrey Marc Siskind

                                                                                               ORDER DENYING
                                                                                           OBJECTION TO CLAIM NO. 5

                                                                         DATE: 09/18/2023
                                                                         TIME: 11:30
                                                              Debtor(s). COURTROOM: 1368
                                                                         PLACE: 255 E Temple St., Los Angeles, CA 90012


The Debtor or trustee having filed objections to certain claims, the court having considered the evidence and argument
presented in support and in opposition to such objections, if any, and good cause appearing, the court makes the
following ruling as to the objections to claims:

(NOTES FOR USE OF THIS FORM: List claims in ascending numerical order based upon the clerk’s claim number. Use
a separate box below for each claim. Attach as many continuation pages as are necessary.)


  Calendar Number: 30                          Claim Number: 5-1,5-2                         Claim Amount: $5,480.71

  Claimant Name: Ally Bank

     Disallowed              Allowed                Unsecured: $5480.71                           Priority: $
  Comments:




          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                           Page 1                                   F 3007-1.1.ORDER.OBJ.CLAIM
       Case 2:23-bk-11720-VZ                   Doc 76-1 Filed 09/26/23 Entered 09/26/23 07:59:03                                        Desc
                                                 Proposed Order Page 2 of 3


 Calendar Number:                           Claim Number:                                Claim Amount: $

 Claimant Name:

    Disallowed           Allowed                 Unsecured: $                                 Priority: $
 Comments:


 Calendar Number:                           Claim Number:                                Claim Amount: $

 Claimant Name:

    Disallowed           Allowed                 Unsecured:$                                  Priority: $
 Comments:


 Calendar Number:                           Claim Number:                                Claim Amount: $

 Claimant Name:

    Disallowed           Allowed                 Unsecured:$                                  Priority: $
 Comments:



 Calendar Number:                           Claim Number:                                Claim Amount: $

 Claimant Name:

     Disallowed          Allowed                 Unsecured:$                                  Priority: $
 Comments:


 Calendar Number:                           Claim Number:                                Claim Amount: $

 Claimant Name:

    Disallowed           Allowed                 Unsecured:$                                  Priority: $
 Comments:




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December 2013                                                         Page 2                                   F 3007-1.1.ORDER.OBJ.CLAIM
       Case 2:23-bk-11720-VZ                   Doc 76-1 Filed 09/26/23 Entered 09/26/23 07:59:03                                        Desc
                                                 Proposed Order Page 3 of 3


 Calendar Number:                           Claim Number:                                Claim Amount: $

 Claimant Name:

    Disallowed             Allowed               Unsecured:                                   Priority: $
 Comments:


 Calendar Number:                           Claim Number:                                Claim Amount: $

 Claimant Name:

    Disallowed             Allowed               Unsecured:                                   Priority: $
 Comments:


 Calendar Number:                           Claim Number:                                Claim Amount: $

 Claimant Name:

    Disallowed             Allowed               Unsecured:                                   Priority: $
 Comments:



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December 2013                                                         Page 3                                   F 3007-1.1.ORDER.OBJ.CLAIM
